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Date: 11/01/2020, 4:43:14 PM
Participants: William Kaetz (WK), Georgia Christatos (GC)

(Edited conversation)

GC: Did these people come to your house and warn you not to do this?

WK: What do you mean?

GC: Have you been warned? I don’t know, cause when I went to Caroline’s house, I, I was in the
dark. I (UI) and she said to me, “Oh, well, they came here to the house about a month ago. I
know what it’s probably about.” So she was totally, she knew exactly what was going on.

WK: (UI) I did. They, they did come to my house they said don’t mail anything to her. I didn’t
mail anything to her. Ok?

GC: But you emailed. What’s the difference? And you (UI) a U.S. Marshal.

WK: Yeah I did it. I was really pissed. I, I mean, she just kept on railroading my case. There was
no reason for it.

GC: It’s not your case, it’s your daughter’s case. And she should …

WK: (UI) I have another case.

(Edited conversation)

WK: I’m completely shut down too. I didn’t think they would turn everything against me like
this, ok? I didn’t really say I was going to do anything to her. I asked the Marshals to do stuff to
her. (UI) investigate her please. Ok? They twisted my words around so ridiculous it’s pathetic.
Ok? Alright? And, and I’m just, you know, I was just, you know, I didn’t know what to do. She,
she kept on stonewalling my case. You know? I don’t think that was working as a judge. It was awful.
Alright?

GC: I, I just don’t know what else to say about it. This sucks.

WK: Alright.

GC: I just don’t. I just don’t.
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WK: You don’t know, if you don’t know everything about it, ok, they’re just making me out to
be a really horrible guy and I’m not. Ok? I didn’t threaten to kill the judge. I didn’t threaten
(UI)

GC: I know you didn’t.

WK: Ok?

GC: I know you didn’t.

WK: (UI) You know, I expressed my feelings, and I asked them to, you know, to investigate her.
To ask her, you know, why she’s doing this to me. You know? And they turn around like I’m,
I’m a crazy lunatic. Ok? (UI) Yeah, it’s kind of ortho, you know, it wasn’t right to do, it was
unorthodox. I should’ve used the legal system to do this stuff. I know. I just, you know, it was
like five in the morning, I couldn’t sleep, I was upset, I was thinkin’ about it, and I just did it.
Ok? Alright? It was stupid, I’m an idiot. I, what can I say? You know, but I’m not some lunatic,
crazy dude. Ok? Alright? And they’re making me out to be some lunatic, cause I’m not.

(Edited conversation)
